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                                      t:NITED STATES DISTRICT COERT
                                     FOR THE DISTRICT OF NEW JERESY


 INITIl) Si:VlES OE AMERICA. :                   Criminal No.: 2:1 0-cr-00633-SRC

                     Plainti fT.


 /I3IGNIEW CICIIY.                          :    ORDER

                     I )e fendant.




         i’IIlS MATTER having been opened to the Court by 1-loward B, Brov’ nstein, Attorney for
 Zbigniew Cichv asking ftr an Order amending the defendant’s bail status by allowing Mr. Cichy to
 be permitted to lea e Ii is house Wednesday. July 1 3. 20 I I for 1 hour in the morning and 1 hour in
 the alternoon to drop off and retrieve his car for repair at All Season Automotive. 474 US II igh a
 46. Belvidere, NJ (908) 474-1725 in order for Mr. Cichy to have transportation to meet with his
 attorne and for necessary Court appearances. Matthew 3eck. AUSA having no objection. and for
 good cause shown:
         11 iS on this                day o1                    2011
         ORDEREI) that Ms. Cichy be permitted tL leave his house for 1 hour in the morning and I
 hour in the afternoon time to be discussed and agreed upon with Pretrial Services in order to take his
 car for repair at All Season Automotive. 474 us Highway 46. Belvidere. NJ (908) 474-1725: and ii
 is further
         ORDEREI) that if’ Mr. Cichv will need more time he is to contact Pretrial 5cR ices
 immliatel tu make them a are: and it is liirthcr
         ORDERED all other conditions of bail will remain the same.



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Matthew Beck. ASUA
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         ORDERED all other conditions of bail will remain the same,



  a,USPT


     atthew F. Bec AUSA
   Shirley U. Emehelu, AUSA
